     Case 2:05-cr-00126-RHW    ECF No. 294   filed 09/29/05   PageID.1733 Page 1 of 2




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                               UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF WASHINGTON
10
       UNITED STATES OF AMERICA,                )
11                                              )     No. CR-05-126-RHW-18
                        Plaintiff,              )
12                                              )     ORDER GRANTING IN PART
       v.                                       )     DEFENDANT’S MOTION AND
13                                              )     MODIFYING CONDITIONS OF
       TODD STAMPS,                             )     RELEASE
14                                              )
                        Defendant.              )
15                                              )

16          At the September 28, 2005, hearing on Defendant's Motion to

17    modify (Ct. Rec. 247), Defendant appeared with counsel Dennis

18    Lewellen; Assistant U.S. Attorney Russell Smoot represented the

19    United States.

20          The court, having considered the proffers of Defendant and

21    Plaintiff, finds Defendant has been compliant with conditions of

22    release.

23          The Defendant’s Motion (Ct. Rec. 247, CR-05-126-RHW-18) is

24    GRANTED in part.          The Order Setting Conditions of Release is

25    MODIFIED to the limited extent that Defendant shall no longer be

26    subject to electronic monitoring.             However, Defendant shall comply

27    with a curfew of 7:00 p.m. to 7:00 a.m.

28          All other conditions of Judge Leavitt’s Order filed February

      ORDER GRANTING IN PART DEFENDANT’S MOTION AND
      MODIFYING CONDITIONS OF RELEASE - 1
     Case 2:05-cr-00126-RHW    ECF No. 294   filed 09/29/05   PageID.1734 Page 2 of 2




 1    22, 2005, remain and shall constitute the additional conditions of
 2    Defendant's release.
 3          IT IS SO ORDERED.
 4          DATED September 29, 2005.
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 6                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING IN PART DEFENDANT’S MOTION AND
      MODIFYING CONDITIONS OF RELEASE - 2
